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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                             )
                                                    )
               Plaintiff,                           )
                                                    )
       v.                                           )      C.A. No. 22-1466-MN
                                                    )
TESLA, INC.,                                        )
                                                    )
               Defendant.                           )


                STIPULATION AND ORDER GRANTING LEAVE TO FILE
                         SECOND AMENDED COMPLAINT

       WHEREAS, Autonomous Devices LLC (“AD”) seeks leave to amend the First Amended

Complaint (D.I. 92) to withdraw allegations of infringement for claims that have since been

disclaimed at the United States Patent and Trademark Office;

       WHEREAS, the current deadline to answer or otherwise respond to AD’s Fist Amended

Complaint (D.I. 92) is September 29, 2023.

       WHEREAS, the parties met and conferred and agreed that the deadline for Tesla to answer,

move, or otherwise respond to AD’s allegations shall be fourteen (14) days after AD’s files its

Second Amended Complaint pursuant to the Court’s order on this stipulation.

       IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for AD and

Tesla, subject to the approval of the Court, as follows:

       1.      Pursuant to Fed. R. Civ. P. 15(a)(2) and D. Del. LR 15.1, AD hereby moves for

leave to amend the complaint. The motion is granted. AD may file the Second Amended Complaint

attached hereto as Exhibit A (redline pursuant to D. Del. LR 15.1(b) is attached hereto as Exhibit

B). The Second Amended Complaint shall be filed as a separate docket entry and shall be deemed

served upon filing.
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       2.      The time for Tesla to answer, move, or otherwise respond to AD’s Second

Amended Complaint shall be fourteen (14) days after the Second Amended Complaint is filed as

a separate docket entry pursuant to the stipulation and order.



 /s/ Karen E. Keller                                 /s/ Cameron P. Clark
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 Dated: September 29, 2023                           Attorneys for Tesla, Inc.



SO ORDERED this 3rd day of September 2023.

                                              _________________________________
                                              The Honorable Maryellen Noreika
                                              United States District Judge




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